Case 1:13-cv-00088-CMA-MEH Document 1 Filed 01/15/13 USDC Colorado Page 1 of 11




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. ____________________


  LEHMAN BROTHERS HOLDINGS INC.,

           Plaintiff,

  vs.

  UNIVERSAL AMERICAN MORTGAGE
  COMPANY, LLC,

           Defendant.


                                           COMPLAINT


           Plaintiff, Lehman Brothers Holdings Inc. (“LBHI”),1 by and through its undersigned

  attorneys, and for causes of action against Defendant Universal American Mortgage Company,

  LLC (“Universal”), alleges as follows:




  1
   Plaintiff Lehman Brothers Holdings Inc. (“LBHI”) commenced a voluntary case under chapter
  11 of title 11 of the United States Code (the “Bankruptcy Code”), on September 15, 2008, in the
  United States Bankruptcy Court of the Southern District of New York (the “Bankruptcy Court”).
  On December 6, 2011, the Bankruptcy Court entered an order confirming LBHI’s Modified
  Third Amended Chapter 11 Plan. LBHI’s chapter 11 plan became effective on March 6, 2012,
  and LBHI is authorized to operate its business and manage its property as a debtor in possession
  pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

  In August 2009, the Bankruptcy Court authorized LBHI to pursue claims with respect to the
  origination and purchase of residential mortgage loans. LBHI is pursuing that exact type of
  claim here and prosecuting this case to preserve the value of its assets for the benefit of its
  creditors.


  {25673357;1}
Case 1:13-cv-00088-CMA-MEH Document 1 Filed 01/15/13 USDC Colorado Page 2 of 11




                                      I. NATURE OF ACTION

           1.    At all times relevant hereto, Lehman Brothers Bank, FSB (“LBB,” and

  collectively with LBHI, “Lehman”) purchased mortgage loans from Universal pursuant to a

  series of written contracts. LBB subsequently assigned its rights under those contracts to LBHI.

  With respect to certain of these mortgage loans, Universal breached provisions of the contracts

  that required it to repurchase from, or indemnify Lehman for mortgage loans which failed to

  comply with the parties’ contracts. By this action, LBHI seeks to recover money damages for

  injuries that have been sustained as a result of Universal’s failure or refusal to honor its

  obligation to repurchase loans and/or indemnify Lehman for its incurred losses.

           2.    The claim presented in this Complaint was originally Count IV of LBHI’s 8-count

  complaint in Case No. 11-20859-CIV-KING, filed in the Southern District of Florida. Pursuant

  to a ruling by the District Judge at the pretrial conference on January 4, 2013, and a subsequent

  Order entered on January 9, 2013, this claim was dismissed without prejudice to be re-filed as a

  separate cause of action, because the District Judge was of the opinion that each loan must be

  filed separately, rather than joined within one action.

                                             II. PARTIES

           3.    Plaintiff LBHI is a Delaware corporation with its principal place of business in

  New York, New York.

           4.    Defendant Universal is a Florida limited liability company with its principal place

  of business at 700 N.W. 107th Avenue, Suite 400, Miami, Florida.

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  {25673357;1}                                      2
Case 1:13-cv-00088-CMA-MEH Document 1 Filed 01/15/13 USDC Colorado Page 3 of 11




                                III. JURISDICTION AND VENUE

           5.    This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because there is

  complete diversity of citizenship between Plaintiff LBHI and Defendant Universal, and the

  amount in controversy exceeds $75,000, exclusive of interest and costs.

           6.    Personal jurisdiction comports with due process under the United States

  Constitution and the long-arm statutes of Colorado because Universal has been registered to do

  business in Colorado since 2002 and has maintained an agent in the state for the last ten years.

           7.    Universal has purposefully availed itself of the benefit of doing business—both

  with and without Lehman—in Colorado. On information and belief, Universal’s business in

  Colorado includes, but is not limited to, mortgage lending operations.

           8.    In 2004, Universal entered into a business relationship with the Lehman entities

  pursuant to which Universal would sell residential mortgage loans to Lehman. That relationship

  was overseen by Aurora Loan Services, LLC (“Aurora”), a Lehman subsidiary then based in

  Littleton, Colorado.

           9.    Universal has had continuous and systematic communication with Lehman

  entities in Colorado, including with respect to the loans and related transactions at issue in this

  case. This includes: (1) recertification of their ability to originate loans; (2) securing delegated

  underwriting authority, which affected Universal’s ability to approve mortgage loans to sell to

  Lehman with less oversight from Lehman; and (3) responding to repurchase demands from

  Lehman issued from Colorado.

           10.   Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial

  part of the events that give rise to the claims occurred in this District and because the division of




  {25673357;1}                                     3
Case 1:13-cv-00088-CMA-MEH Document 1 Filed 01/15/13 USDC Colorado Page 4 of 11




  LBHI that oversees its residential mortgage loss recovery program is based in Greenwood

  Village, Colorado, and thus its witnesses and documents are located here.

                                 IV. FACTUAL ALLEGATIONS

           11.   At all relevant times, Lehman engaged in the purchase and sale of mortgage

  loans.

           12.   Universal engages in mortgage lending, as well as the sale of mortgage loans on

  the secondary market to investors such as Lehman.

           13.   Universal entered into a written Loan Purchase Agreement (Servicing Released

  Transactions) dated September 20, 2005 with LBB and thereafter amended the Agreement by

  Addendum dated October 1, 2006 (together the “Agreement”). A true and correct copy of the

  Agreement is attached hereto as Exhibit 1.

           14.   The Agreement specifically incorporates the terms and conditions of the Seller's

  Guide of Lehman's agent, Aurora Loan Services LLC, which sets forth additional duties and

  obligations of Universal.

           15.   The Seller's Guide in its entirety is valid and binding upon Universal. Attached

  hereto as Exhibit 2 are the specific Sections of the Seller’s Guide most directly pertinent to the

  claims in this Complaint.

           16.   The Agreement and the Seller’s Guide set forth the duties and obligations of the

  parties with respect to the purchase and sale of mortgage loans, including but not limited to

  purchase price, delivery and conveyance of the mortgage loans and mortgage loan documents,

  examination of mortgage loan files and underwriting, representations and warranties concerning

  the parties and individual mortgage loans purchased or sold, and remedies for breach.




  {25673357;1}                                    4
Case 1:13-cv-00088-CMA-MEH Document 1 Filed 01/15/13 USDC Colorado Page 5 of 11




           17.   Universal sold mortgage loans to LBB pursuant to the terms of the Agreement

  and Seller's Guide, including Loan ****3570 (Carter).

           18.   LBB purchased Loan ****3570 from Universal.

           19.   Subsequent to the sale of Loan ****3570 by Universal to LBB, LBB sold Loan

  ****3570 to LBHI.

           20.   Subsequent or simultaneously with the sale by LBB to LBHI, LBB assigned to

  LBHI all of its rights and remedies under the Agreement and Seller's Guide pertaining to Loan

  ****3570.

                                       Underwriting Defects

           21.   With respect to each of the loans sold to Lehman under the Agreement and

  Seller's Guide, Universal made a number of representations, warranties and covenants

  concerning the mortgage loans including, but not limited to the following:

                 (a)    the validity of all mortgage loan documentation;

                 (b)    the accuracy and integrity of all information and documentation regarding
                        borrower identity, income, employment, credit, assets, and liabilities used
                        in making the decision to originate the mortgage loans;

                 (c)    occupancy by the borrowers of the properties securing the mortgage loans;

                 (d)    the ownership, nature, condition, and value of the real properties securing
                        the mortgage loans; and

                 (e)    the conformance of the mortgage loans with applicable underwriting
                        guidelines and loan program requirements.

           22.   Universal also represented and/or warranted that no errors, omissions,

  misrepresentations, negligence, fraud, or similar occurrence took place with respect to the

  mortgage loans by any person involved in the origination of the mortgage loans, and that no

  predatory or deceptive lending practices were used in the origination of the mortgage loans.


  {25673357;1}                                    5
Case 1:13-cv-00088-CMA-MEH Document 1 Filed 01/15/13 USDC Colorado Page 6 of 11




           23.    Universal represented and/or warranted that it had the ability to perform its

  obligations under, and satisfy all requirements of, the Agreement and Seller’s Guide.

           24.    Lehman discovered material problems with Loan ****3570 (Carter) and that

  Universal had breached representations, warranties and/or covenants under the Agreement and

  Seller's Guide, including, without limitation, those set forth above.

           25.    As to Loan ****3570 (Carter), Universal first processed the borrower/s for a

  Countrywide “stated income/stated asset” (also referred to as “SISA”) loan and then switched the

  borrower/s to an Aurora “no documentation” loan product.

           26.    The Countrywide SISA product under which Universal first processed borrower

  Carter included in the loan application stated income and stated assets by borrower Carter.

           27.    The Seller’s Guide, at Section 502, requires the Seller to utilize and consider all

  information received from a borrower and prohibits the Seller from disregarding information

  received:

           . . . Reduced Documentation (Lite Doc, Stated, No Ratio, No Doc, etc.) programs
           do not eliminate the necessity to closely review and evaluate all information
           available in the file to determine the reasonableness of the borrower's ability to
           repay the mortgage debt.

           ***
           Requests for additional information or documentation will be driven by common
           sense, sound credit judgment and loan characteristics. Underwriter must review
           all information provided. . . . In addition, information disclosed in the file must
           also be taken into consideration. For example, payroll deposits shown on bank
           statement, disclosed in file will be used for calculating appropriate gross income.

           28.    The program profile for the loan product used by Universal for borrower Carter

  states that “Income, . . . assets are not disclosed.”




  {25673357;1}                                       6
Case 1:13-cv-00088-CMA-MEH Document 1 Filed 01/15/13 USDC Colorado Page 7 of 11




           29.    Pursuant to the program profile and Seller’s Guide, a “no documentation” loan

  product could not be used for borrower Carter because Universal had already received Carter’s

  stated income and assets.

           30.    Universal’s failure to comply with the Seller’s Guide and program profile was a

  material breach of Universal’s representation, warranty and covenant in Section 703(8) of the

  Seller’s Guide that:

           Seller, . . . has duly and faithfully complied with and will continue to comply
           with: (i) all applicable laws, rules, regulations, decrees, pronouncements,
           directives, orders and contractual requirements with respect to the origination,
           closing, underwriting, processing and servicing of each Mortgage Loan; . . .

           31.    Universal’s failure to comply with the Seller’s Guide and program profile was a

  material breach of Universal’s representation, warranty and covenant in Section 703(21) of the

  Seller’s Guide that:

           The Mortgage Loan has been originated and processed by Seller or Seller’s
           correspondent in accordance with, and conforms with, the terms of this Seller’s
           Guide and the Loan Purchase Agreement, and the Mortgage Loan has been
           underwritten in accordance with Underwriting Guidelines in effect as of the date
           of the Delivery Commitment applicable to the Mortgage Loan. The Mortgage
           Loan complies with all the requirements of the related Program Profile applicable
           to such Mortgage Loan. . . .

           32.    Universal failed to include the Countrywide SISA loan application with the file

  when it transmitted the loan file to Lehman’s agent

           33.    Universal’s failure to transmit the SISA loan application with the loan file was a

  material breach of Universal’s representation, warranty and covenant in Section 703(1) of the

  Seller’s Guide that:

           No document, report or material furnished to Purchaser in any Mortgage Loan
           File or related to any Mortgage Loan (including, without limitation, the
           Mortgagor’s application for the Mortgage Loan executed by the Mortgager), was
           falsified or contains any untrue statement of fact or omits to state a fact necessary
           to make the statements contained therein not misleading.


  {25673357;1}                                      7
Case 1:13-cv-00088-CMA-MEH Document 1 Filed 01/15/13 USDC Colorado Page 8 of 11




           34.    Universal’s failure to transmit the SISA loan application with the loan file was

  also a material breach of Universal’s representation, warranty and covenant in Section 703(12) of

  the Seller’s Guide that:

           The documents, instruments and agreements submitted for loan underwriting were
           not falsified and contain no untrue statement of material fact or omit to state a
           material fact required to be stated therein or necessary to make the information
           and statements therein not misleading. No fraud was committed in connection
           with the origination of the Mortgage Loan. The Seller has reviewed all of the
           documents constituting the Mortgage Loan File and has made such inquiries as it
           deems necessary to make and confirm the accuracy of the representations set forth
           herein.

           35.    Universal’s failure to comply with the Seller’s Guide and program profile was a

  material breach of Section 717 of the Seller’s Guide that:

           All underwriting performed by Seller hereunder shall be in strict compliance with
           the underwriting guidelines and product descriptions contained in the Seller's
           Guide and such other guidelines and requirements as may be provided to Seller in
           writing from time to time.

           36.    Section 701 of the Seller’s Guide further provides that:

           Seller acknowledges that Mortgage Loans are purchased in reliance upon: (i) the
           truth and accuracy of Seller’s representations and warranties set forth in the Loan
           Purchase Agreement and this Seller's Guide, each of which representations and
           warranties relates to a matter material to such purchase; and (ii) Seller’s
           compliance with each of the agreements, requirements, terms, covenants and
           conditions set forth in the Loan Purchase Agreement and this Seller's Guide.

           37.    The breaches discussed above materially and adversely affected the value of the

  loan and the interests of LBHI causing LBHI to lose over one-hundred twenty thousand dollars.

           38.    As assigned, the Loan Purchase Agreement and Seller’s Guide provide that in the

  event of a breach of the representations, warranties, and/or covenants, LBHI or its agent may

  demand that Universal repurchase the loan and Universal shall repurchase the loan at a certain




  {25673357;1}                                     8
Case 1:13-cv-00088-CMA-MEH Document 1 Filed 01/15/13 USDC Colorado Page 9 of 11




  repurchase price, and/or that Universal shall indemnify LBHI or its agent for LBHI's losses on

  such a loan.

           39.    LBHI, through its agent, provided Universal with a letter informing Universal of

  Universal’s material breaches of the representations, warranties and covenants with respect to

  Loan ****3570, and further advising of Universal’s obligation to indemnify Lehman.

           40.    Universal has refused or otherwise failed to indemnify Lehman for its losses

  incurred on Loan ****3570 and has otherwise failed to comply with its obligations under the

  Agreement and Seller's Guide.

           41.    Pursuant to Section 8 of the Agreement, the laws of the State of New York govern

  this contract action.

           42.    All conditions precedent to bringing this action have been met, occurred or have

  been waived.

                                    V. CLAIMS FOR RELIEF

                                       First Claim for Relief
                                        (Breach of Contract)

           43.    LBHI hereby incorporates by reference the allegations set forth above as though

  fully set forth herein.

           44.    The Agreement and the Seller's Guide is a valid and enforceable contract that is

  binding upon Universal.

           45.    Lehman, Lehman's agents and any and all assignees of Lehman's rights have

  substantially performed all of their obligations under the Agreement and Seller's Guide.




  {25673357;1}                                    9
Case 1:13-cv-00088-CMA-MEH Document 1 Filed 01/15/13 USDC Colorado Page 10 of 11




            46.     Universal breached the Agreement and Seller's Guide by breaching the

   representations, warranties, and/or covenants including but not limited to those described above

   in Section IV.

            47.     Universal further breached the Agreement and Seller's Guide by refusing or

   otherwise failing to repurchase Loan ****3570 and/or failing to indemnify Lehman for its losses

   as to Loan ****3570.

            48.     Universal’s breaches of the Agreement and Seller's Guide as to Loan ****3570

   resulted in actual and consequential damages to LBHI in excess of $120,000.00, plus

   prejudgment interest pursuant to New York law, attorneys fees, litigation costs and all other fees

   and costs provided by the Agreement, the exact amount of which to be proven by the evidence.

                                     VI. PRAYER FOR RELIEF

            WHEREFORE, LBHI respectfully requests that this Court enter judgment in its favor and

   against defendant Universal as follows:

                    (a)   For all damages arising from or relating to Universal’s breaches of

                          contract, in an amount to be proven at trial;

                    (b)   For an Order of this Court declaring that Universal is required to

                          compensate Lehman immediately for all actual and consequential damages

                          resulting from Universal’s breaches of the Representations, Warranty, and

                          Covenant provisions of the Agreement and Seller’s Guide;

                    (c)   For recoverable interest;

                    (d)   For the costs and expenses incurred by LBHI in enforcing Universal’s

                          obligations under the Agreement and Seller’s Guide, including attorneys’

                          fees and costs and any expert witness fees incurred in litigation; and




   {25673357;1}                                       10
Case 1:13-cv-00088-CMA-MEH Document 1 Filed 01/15/13 USDC Colorado Page 11 of 11




                  (e)   For such other relief as the Court deems just and proper.


   Dated: January 15, 2013
                                                  Respectfully submitted,

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   {25673357;1}                                  11
